UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

SHAHID DIWAN, ABDEL ABDEL FATTAH,
EZALDIN ABDELSALAM, SERGUEI AKIMOV,
ABDALLAH BA, SANJAY BUDHOO, MANUEL
DIAZ, FRANKLYN B. FYFFE, SHERIF IBRAHIM,
JUSTIN JUNG, ANDRES MORALES, CANDIDO
NUNEZ, RONALD SMITH, DUNCAN TASHER,
EMAD TAWFIK, PHILLIP VARGAS and NAGI ZAKI,
on behalf of themselves and all others similarly situated,

 

Case No.

Plaintiffs, COMPLAINT

-apainst-

TRISTAR CHAUFFEUR MANAGEMENT, INC.,
ADDISON LEE, INC., AMERICAN LIMOUSINE LLC
d/b/a FLYTE TYME WORLDWIDE ADDISON LEE
LLC f/d/b/a FLYTE TYME TRANSPORTATION LLC,
Defendants.

 

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INTRODUCTION

Plaintiffs SHAHID DIWAN, ABDEL ABDEL FATTAH, EZALDIN ABDELSALAM,
SERGUEI AKIMOV, ABDALLAH BA, SANJAY BUDHOO, MANUEL DIAZ, FRANKLYN
B, FYFFE, SHERIF IBRAHIM, JUSTIN JUNG, ANDRES MORALES, CANDIDO NUNEZ,
RONALD SMITH, DUNCAN TASHER, EMAD TAWFIK, PHILLIP VARGAS and NAGI
ZAKI , on behalf of themselves and all others similarly situated, by their undersigned attorneys,
allege, upon personal knowledge as to themselves and upon information and belief as to all other
matters, as follows:

NATURE OF THE ACTION

1, This is a lawsuit to recover unpaid wages under the Fair Labor Standards Act, as

amended, 29 U.S.C. §§ 201 et seq., ("FLSA"), the New York Labor Law, Article 19, §§ 650 et.

sec. ("NYLL"), and the supporting New York State Department of Labor regulations on behalf of
Defendants’ current and former employee drivers. More specifically, Plaintiffs asserts that they
and members of the Class, are entitled to recover all tips that were paid by customers to
Defendants for work performed by Plaintiffs, liquidated damages, costs and reasonable attorney’s
fees. The gravamen of the complaint is that Defendants regularly collected tips from its
customers and failed to distribute the tips to the drivers who earned the tips. Plaintiffs also assert
on behalf of themselves that they are entitled to damages under the NYLL for Defendants’ failure
to provide wage notices and accurate wage statements.

2, Defendants are affiliated executive limousine companies which operate
throughout the tri-state area and beyond. Defendants employed Plaintiffs and dozens of other
current and former drivers.

3, Pursuant to 29 U.S.C. §216(b), Plaintiffs seek to represent a collective action
under the FLSA consisting of "all current and former drivers who were employed by Defendants
in any workweek from November 15, 2016 forward, and who were not paid the tips that

customers paid to Defendants" (the "Putative Collective Action Members" or “Class”).

4. Plaintiffs also bring this action on behalf of themselves to remedy violations of
the NYLL.
5, Defendants have willfully engaged in a pattern, practice, and policy of unlawful

conduct by failing to properly pay Plaintiffs and the Putative Collective Action Members the tips
that Defendants collected from their customers.

6, Defendants have also violated the NYLL by failing to provide Plaintiffs with

wage notices and accurate wage statements.
7. Plaintiffs seek compensatory damages, pre-judgment interest, reasonable
attorneys’ fees, liquidated damages and all other appropriate legal and equitable relief, pursuant
to the FLSA and NYLL.

PARTIES
Plaintiffs

8. Plaintiff Shahid Diwan ("Diwan") resides in Nassau County, New York.

9. Diwan was employed as a chauffeur by the Defendants from December 15, 2010
to the present.

10. Plaintiff Abdel Abdel Fattah ("Fattah") resides in Bergen County, New Jersey.

11,  Fattah was employed as a chauffeur by the Defendants from November 14, 2016
to the present.

12. Plaintiff Ezaldin Abdelsalam (""Abdelsalam") resides in Hudson County, New
Jersey.

13. Abdelsalam was employed as a chauffeur by the Defendants from July 5, 2017 to
the present.

14, _- Plaintiff Serguei Akimov ("Akimov") resides in Passaic County, New Jersey.

15. | Akimov was employed as a chauffeur by the Defendants from October 11, 2016 to
the present.

16. Plaintiff Abdallah Ba ("Ba") resides in Bronx County, New York,

17. Ba was employed as a chauffeur by the Defendants from on or about September
1, 2016 to the present.

18. Plaintiff Sanjay Budhoo (""Budhoo") resides in Queens County, New York.
19. Budhoo was employed as a chauffeur by the Defendants from on or about August
28, 2017 to January 19, 2019.

20. Plaintiff Manuel Diaz ("Diaz") resides in Queens County, New York.

21, Diaz was employed as a chauffeur by the Defendants from on or about October 8,
2012 through April 7, 2019.

22. Plaintiff Franklyn B. Fyffe ("Fyffe") resides in Queens County, New York.

23. Fyffe was employed as a chauffeur by the Defendants from on or about January 1,
2011 to the present.

24, Plaintiff Sherif Ibrahim ("Ibrahim") resides in Essex County, New Jersey.

25. [brahim was employed as a chauffeur by the Defendants from approximately
January 2010 to May 2019,

26. Plaintiff Justin Jung ("Jung") resides in Bergen County, New Jersey.

27. Jung was employed as a chauffeur by the Defendants from on or about August
2016 to September 19, 2019.

28. Plaintiff Andres Morales ("Morales") resides in Queens County, New York,

29, Morales was employed as a chauffeur by the Defendants from on or about August
2016 to the present.

30, Plaintiff Candido Nunez ("Nunez") resides in Kings County, New York.

31. Nunez was employed as a chauffeur by the Defendants from on or about
December 2010 to the present.

32. Plaintiff Ronald Smith ("Smith") resides in Kings County, New York.
33. Smith was employed as a chauffeur by the Defendants from on or about
September 1, 2015 to the present.

34, Plaintiff Duncan Tasher ("Tasher") resides in Kings County, New York.

35.  Tasher was employed as a chauffeur by the Defendants from on or about January
1, 2011 to the present.

36. Plaintiff Emad Tawfik ("Tawfik") resides in Richmond County, New York.

37.  Tawfik was employed as a chauffeur by the Defendants from on or about February
20, 2018 to July 20, 2019.

38. Plaintiff Phillip Vargas ("Vargas") resides in Fairfield County, Connecticut.

39. Vargas was employed as a chauffeur by the Defendants from on or about March
2018 to the present.

40, Plaintiff Nagi Zaki (“Zaki”) resides in Middlesex County, New Jersey.

4}, Zaki was employed as a chauffeur by the Defendants from on or about September
2014 to the present.

42. Each plaintiff worked for Defendants as a driver in the New York City
metropolitan area.
Defendants

43. Tristar Chauffeur Management, Inc (“Tristar”) is a foreign corporation organized
and existing under the laws of the state of Delaware. Upon information and belief, it maintains
its principal office at 90 McKee Drive, Mahwah, NJ 07430 and is authorized to do business in
New York. Tristar transacts business as a limousine for hire business in multiple states, including

New York and New Jersey.
44, Tristar is an “enterprise engaged in interstate commerce” within the meaning of
the FLSA. Tristar has engaged in interstate commerce and has gross revenues exceeding
$500,000 in each of the three years preceding the filing of this complaint.

45. Addison Lee, Inc., ("Addison Lee") is a foreign corporation organized and
existing under the laws of the state of Delaware. Upon information and belief, it maintains its
principal office at 90 McKee Drive, Mahwah, NJ 07430 and is authorized to do business in New
York. Addison Lee transacts business as a limousine for hire business in multiple states,
including New York and New Jersey.

46, Addison Lee is an “enterprise engaged in interstate commerce” within the
meaning of the FLSA. Addison Lee has engaged in interstate commerce and has gross revenues
exceeding $500,000 in each of the three years preceding the filing of this complaint.

47, Upon information and belief, American Limousine LLC (“American”) is a
foreign corporation organized and existing under the laws of the state of New Jersey. Upon
information and belief American is a subsidiary of Addison Lee and it maintains its principal
place office at 90 McKee Drive, Mahwah, NJ 07430 and is authorized to do business in New
York. American transacts business as a limousine for hire business in multiple states, including
New York and New Jersey.

48. Upon information and belief, American does business as Flyte Tyme Worldwide
Addison Lee LLC. |

49. American Limousine LLC is an “enterprise engaged in interstate commerce”
within the meaning of the FLSA. American has engaged in interstate commerce and has gross

revenues exceeding $500,000 in each of the three years preceding the filing of this complaint.
50. Upon information and belief, Defendants share common ownership and
management. Defendants operate as a single-integrated enterprise and/or joint employer with
integrated and unified operations.

51. Upon information and belief, Defendants are subsidiaries of, and/or affiliated
with, Addison Lee Group, a London-based company with over £900m in annual revenue.

JURISDICTION AND VENUE

52, This Court has original federal question jurisdiction over Plaintiffs’ FLSA claims
because this case is brought pursuant to the FLSA. This Court has supplemental jurisdiction over
the NYLL claims as they are so related to the claims in this action within this Court's original
jurisdiction that they form part of the same case or controversy under Article III
of the United States Constitution.

$3. Venue is proper within this District pursuant to 28 U.S.C. § 1391, because
Defendants do business in this District, because many of the plaintiffs reside in this District, and
because a substantial part of the acts or omissions giving rise to the claims alleged herein
occurred within this District.

FACTUAL ALLEGATIONS

54. Plaintiffs are or were employed as chauffeurs by Defendants. Most of the
plaintiffs were initially employed by Tristar. Upon information and belief, Tristar was bought by
Addison Lee Group in or around June 2016. In or around January 2019, Plaintiffs began to
receive their paychecks from American Limousine LLC.

55. Atal! times material and relevant herein, Defendants were the employers of

Plaintiffs within the meaning of 29 U.S.C. §§201 et. seq.
56.  Atall relevant times, Plaintiffs were employees of Defendants within the meaning
of NYLL§§650 et. seq. and the supporting New York State Department of Labor regulations.

57.  Atall relevant times, Defendants possessed the authority and power to hire or
terminate Plaintiffs and members of the Class.

58.  Atall relevant times, Defendants possessed the authority and power to control the
work schedule and conditions of employment of Plaintiffs and members of the Class.

59.  Atall relevant times, Defendants possessed the authority and power to determine
the rate and method of the payment of wages to Plaintiffs and members of the Class.

60.  Atall relevant times, Defendants possessed the authority and power to maintain
and/or had unrestricted access to records regarding the employment of Plaintiffs and members of
the Class.

COLLECTIVE ACTION ALLEGATIONS

61. Plaintiffs and the Putative Collective Action Members (“Putative Class”) worked
for Defendants as chauffeurs. They were assigned to transport passengers throughout the New
York and New Jersey.

62. Plaintiffs and the Putative Collective Action Members normally worked shifts of
10 to 12 hours, 5 or 6 days per week and were paid a fixed hourly wage.

63. Defendants charged their customers a either a daily or hourly rate for the services
provided by Plaintiffs and the Putative Collective Action Members.

64. Defendants also collected an additional 20% tip from their customers. For
example, when Defendants charged $1000 to a customer for 10 hours of chauffeur services,

Defendants collected an additional $200 in tips.
65. The Putative Class consists of Plaintiffs and other similarly situated drivers who
were the victims of Defendants’ common policies and practices that have violated the Putative
Class’ rights under the FLSA by misappropriating tips belonging to the Putative Class.

66. | Defendants knew or should have known that the FLSA prohibits employers from
keeping tips earned by employees.

67. Defendants unlawful conduct was willful and caused significant monetary damage
to Plaintiffs and the Putative Collective Action Mmebers.

68. The Putative Collective Action Members would benefit from the issuance of a
court-supervised notice of this lawsuit and the opportunity to join this lawsuit. All similarly
situated drivers can be easily identified and located by Defendants’ records. The similarly
situated drivers should be permitted to opt-in to this lawsuit pursuant to 29 U.S.C § 216(b).

ALLEGATIONS AS TO INDIVIDUAL PLAINTIFFS

69, Plaintiffs are or were employed as chauffeurs by Defendants. Most of the
plaintiffs were initially employed by Tristar. Upon information and belief, Tristar was bought by
Addison Lee Group in or around June 2016. In or around January 2019, Plaintiffs began to
receive their paychecks from American Limousine LLC.

Diwan

70, Plaintiff Diwan worked for Defendants from on or around December 15, 2010 ta
the present. Diwan was paid an hourly rate for the hours that he worked. Throughout the time
Diwan worked for Defendants and continuing to the present, Diwan worked shifts of 10 or 12
hours, 5 or 6 days per week. Defendants billed their clients at or around $100 per hour for

Diwan's services for daily totals of approximately $1000-$1200.
71. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Diwan.

72. Diwan estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Diwan. Defendants did not provide Diwan with any record of the tips,
but the precise amount of the withheld tips should be among the records Defendants were
obligated to maintain.

73. Defendants did not provide Diwan with a wage notice at any time throughout his
employment.

74, Defendants did not provide Diwan with accurate wage statements throughout his
employment.

Fattah

75. Plaintiff Fattah worked for Defendants from on or around November 14, 2016 to
January, 2019. Fattah was paid an hourly rate for the hours that he worked. Throughout the time
Fattah worked for Defendants and continuing to the present, Fattah worked shifts of 10 or 12
hours, 5 or 6 days per week. Defendants billed their clients at or around $100 per hour for
Fattah's services for daily totals of approximately $1000-$1200.

76. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,

Defendants did not then give the tips to Fattah.

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77, Fattah estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Fattah. Defendants did not provide Fattah with any record of the tips,
but the precise amount of the withheld tips should be among the records Defendants were
obligated to maintain.

78. Defendants did not provide Fattah with a wage notice at any time throughout his
employment,

79. Defendants did not provide Fattah with accurate wage statements throughout his
employment.

Abdelsalam

80. Plaintiff Abdelsalam worked for Defendants from on or around July 5, 2017 to the
present. Abdelsalam was paid an hourly rate for the hours that he worked, Throughout the time
Abdelsalam worked for Defendants and continuing to the present, Abdelsalam worked shifts of
10 or 12 hours, 5 or 6 days per week. Defendants billed their clients at or around $100 per hour
for Abdelsalam's services for daily totals of approximately $1000-$1200.

81. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Abdelsalam.

82.  Abdelsalam estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips

and did not give them to Abdelsalam. Defendants did not provide Abdelsalam with any record of

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the tips, but the precise amount of the withheld tips should be among the records Defendants
were obligated to maintain.

83. Defendants did not provide Abdelsalam with a wage notice at any time throughout
his employment.

84. Defendants did not provide Abdelsalam with accurate wage statements throughout
his employment.

Akimoy

85. Plaintiff Akimov worked for Defendants from on or around October 11, 2016 to
the present. Akimov was paid an hourly rate for the hours that he worked. Throughout the time
Akimov worked for Defendants and continuing to the present, Akimov worked shifts of 10 or 12
hours, 5 or 6 days per week. Defendants billed their clients at or around $100 per hour for
Akimov's services for daily totals of approximately $1000-$1200.

86. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Akimov.

87,  Akimov estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Akimov. Defendants did not provide Akimov with any record of the
tips, but the precise amount of the withheld tips should be among the records Defendants were
obligated to maintain.

88. Defendants did not provide Akimov with a wage notice at any time throughout his

employment.

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89, Defendants did not provide Akimov with accurate wage statements throughout his
employment.
Ba

90. Plaintiff Ba worked for Defendants from on or around September 1, 2016 to the
present. Ba was paid an hourly rate for the hours that he worked. Throughout the time Ba worked
for Defendants and continuing to the present, Ba worked shifts of 10 or 12 hours, 5 or 6 days per
week. Defendants billed their clients at or around $100 per hour for Ba's services for daily totals
of approximately $1000-$1200.

91, Defendants collected fromm their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Ba.

92, Ba estimates that each week of his employment Defendants collected on average
between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips and did
not give them to Ba. Defendants did not provide Ba with any record of the tips, but the precise
amount of the withheld tips should be among the records Defendants were obligated to maintain.

93. Defendants did not provide Ba with a wage notice at any time throughout his
employment.

94, Defendants did not provide Ba with accurate wage statements throughout his

employment.

13
Budhoo

95. Plaintiff Budhoo worked for Defendants from on or around August 28, 2017 to
January, 2019. Budhoo was paid an hourly rate for the hours that he worked. Throughout the
time Budhoo worked for Defendants and continuing to the present, Budhoo worked shifts of 10
or 12 hours, 5 or 6 days per week. Defendants billed their clients at or around $100 per hour for
Budhoo's services for daily totals of approximately $1000-$1200.

96. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Budhoo.

97.  Budhoo estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Budhoo. Defendants did not provide Budhoo with any record of the tips,
but the precise amount of the withheld tips should be among the records Defendants were

obligated to maintain.

98. Defendants did not provide Budhoo with a wage notice at any time throughout his
employment.

99, Defendants did not provide Budhoo with accurate wage statements throughout his
employment.

Diaz
100. Plaintiff Diaz worked for Defendants from on or around October 8, 2012 to April
7, 2019. Diaz was paid an hourly rate for the hours that he worked. Throughout the time Diaz

worked for Defendants and continuing to the present, Diaz worked shifts of 10 or 12 hours, 5 or

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6 days per week. Defendants billed their clients at or around $100 per hour for Diaz's services for
daily totals of approximately $1000-$1200.

101, Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Diaz.

102. Diaz estimates that each week of his employment Defendants collected on average
between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips and did
not give them to Diaz. Defendants did not provide Diaz with any record of the tips, but the
precise amount of the withheld tips should be among the records Defendants were obligated to
maintain.

103. Defendants did not provide Diaz with a wage notice at any time throughout his
employment.

104. Defendants did not provide Diaz with accurate wage statements throughout his
employment.

Fyffe

105. Plaintiff Fyffe worked for Defendants from on or around January 2011 to the
present, Fyffe was paid an hourly rate for the hours that he worked. Throughout the time Fyffe
worked for Defendants and continuing to the present, Fyffe worked shifts of 10 or 12 hours, 5 or
6 days per week. Defendants billed their clients at or around $100 per hour for Fyffe's services

for daily totals of approximately $1000-$1200.

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106. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
' Defendants did not then give the tips to Fyffe.

107. Fyffe estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Fyffe. Defendants did not provide Fyffe with any record of the tips, but
the precise amount of the withheld tips should be among the records Defendants were obligated
to maintain.

108. Defendants did not provide Fyffe with a wage notice at any time throughout his
employment.

109. Defendants did not provide Fyffe with accurate wage statements throughout his
employment.

Ibrahim

110. Plaintiff Ibrahim worked for Defendants from on or around 2010 to May 2019.
Ibrahim was paid an hourly rate for the hours that he worked. Throughout the time Ibrahim
worked for Defendants and continuing to the present, Ibrahim worked shifts of 10 or 12 hours, 5
or 6 days per week. Defendants billed their clients at or around $100 per hour for Ibrahim’s
services for daily totals of approximately $1000-$1200.

111. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,

Defendants did not then give the tips to Ibrahim.

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112. Ibrahim estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Ibrahim. Defendants did not provide Ibrahim with any record of the tips,
but the precise amount of the withheld tips should be among the records Defendants were
obligated to maintain.

113. Defendants did not provide Ibrahim with a wage notice at any time throughout his
employment.

114. Defendants did not provide Ibrahim with accurate wage statements throughout his
employment.

Jung

115. Plaintiff Jung worked for Defendants from on or around August, 2016 to
September, 2019. Jung was paid an hourly rate for the hours that he worked. Throughout the tume
Jung worked for Defendants and continuing to the present, Jung worked shifts of 10 or 12 hours,
5 or 6 days per week. Defendants billed their clients at or around $100 per hour for Jung's
services for daily totals of approximately $1000-$1200.

116. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Jung.

117. Jung estimates that each week of his employment Defendants collected on average
between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips and did

not give them to Jung. Defendants did not provide Jung with any record of the tips, but the

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precise amount of the withheld tips should be among the records Defendants were obligated to
maintain.

118. Defendants did not provide Jung with a wage notice at any time throughout his
employment.

119, Defendants did not provide Jung with accurate wage statements throughout his
employment.

Morales

120. Plaintiff Morales worked for Defendants from on or around August, 2016 to the
present, Morales was paid an hourly rate for the hours that he worked. Throughout the time
Morales worked for Defendants and continuing to the present, Morales worked shifts of 10 or 12
hours, 5 or 6 days per week. Defendants billed their clients at or around $100 per hour for
Morales's services for daily totals of approximately $1000-$1200.

121. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Morales.

122. Morales estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Morales. Defendants did not provide Morales with any record of the
tips, but the precise amount of the withheld tips should be among the records Defendants were
obligated to maintain.

123. Defendants did not provide Morales with a wage notice at any time throughout his

employment.

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124. Defendants did not provide Morales with accurate wage statements throughout his
employment.
Nunez

125. Plaintiff Nunez worked for Defendants from on or around December 2010 to the
present. Nunez was paid an hourly rate for the hours that he worked. Throughout the time Nunez
worked for Defendants and continuing to the present, Nunez worked shifts of 10 or 12 hours, 5
or 6 days per week. Defendants billed their clients at or around $100 per hour for Nunez's
services for daily totals of approximately $1000-$1200.

126. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Nunez.

127. Nunez estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Nunez. Defendants did not provide Nunez with any record of the tips,
but the precise amount of the withheld tips should be among the records Defendants were
obligated to maintain.

128. Defendants did not provide Nunez with a wage notice at any time throughout his
employment.

129. Defendants did not provide Nunez with accurate wage statements throughout his

employment.

19
Smith

130. Plaintiff Smith worked for Defendants from on or around September 2015 to the
present, Smith was paid an hourly rate for the hours that he worked. Throughout the time Smith
worked for Defendants and continuing to the present, Smith worked shifts of 10 or 12 hours, 5 or
6 days per week. Defendants billed their clients at or around $100 per hour for Smith's services
for daily totals of approximately $1000-$1200.

131. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Smith.

132. Smith estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Smith. Defendants did not provide Smith with any record of the tips, but
the precise amount of the withheld tips should be among the records Defendants were obligated
to maintain.

133, Defendants did not provide Smith with a wage notice at any time throughout his
employment.

134. Defendants did not provide Smith with accurate wage statements throughout his
employment.

Tasher

135. Plaintiff Tasher worked for Defendants from on or around 2011 to the present.

Tasher was paid an hourly rate for the hours that he worked. Throughout the time Tasher worked

for Defendants and continuing to the present, Tasher worked shifts of 10 or 12 hours, 5 or 6 days

20
per week. Defendants billed their clients at or around $100 per hour for Tasher's services for
daily totals of approximately $1000-$1200.

136. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Tasher.

137.  Tasher estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Tasher. Defendants did not provide Tasher with any record of the tips,
but the precise amount of the withheld tips should be among the records Defendants were
obligated to maintain.

138. Defendants did not provide Tasher with a wage notice at any time throughout his
employment.

139. Defendants did not provide Tasher with accurate wage statements throughout his
employment.

Tawfik

140. Plaintiff Tawfik worked for Defendants from on or around February 20, 2018 to
July 20, 2019. Tawfik was paid an hourly rate for the hours that he worked. Throughout the time
Tawfik worked for Defendants and continuing to the present, Tawfik worked shifts of 10 or 12
hours, 5 or 6 days per week. Defendants billed their clients at or around $100 per hour for

Tawfik's services for daily totals of approximately $1000-$1200.

21
141. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Tawfik.

142. Tawfik estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Tawfik. Defendants did not provide Tawfik with any record of the tips,
but the precise amount of the withheld tips should be among the records Defendants were
obligated to maintain.

143. Defendants did not provide Tawfik with a wage notice at any time throughout his
employment.

144, Defendants did not provide Tawfik with accurate wage statements throughout his
employment.

Vargas
145. Plaintiff Vargas worked for Defendants from on or around to
. Vargas was paid an hourly rate for the hours that he worked. Throughout the time
Vargas worked for Defendants and continuing to the present, Vargas worked shifts of 10 or 12
hours, 5 or 6 days per week, Defendants billed their clients at or around $100 per hour for
Vargas's services for daily totals of approximately $1000-$1200.

146. Defendants collected from their clients an additional 20% tip, which on an

average day was $200-$250. Although Defendants collected these tips from its clients,

Defendants did not then give the tips to Vargas.

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147. Vargas estimates that each week of his employment Defendants collected on
average between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips
and did not give them to Vargas. Defendants did not provide Vargas with any record of the tips,
but the precise amount of the withheld tips should be among the records Defendants were
obligated to maintain.

148, Defendants did not provide Vargas with a wage notice at any time throughout his
employment.

149. Defendants did not provide Vargas with accurate wage statements throughout his
employment.

Zaki

 

150. Plaintiff Zaki worked for Defendants from on or around September 2014 to the
present. Zaki was paid an hourly rate for the hours that he worked. Throughout the time Zaki
worked for Defendants and continuing to the present, Zaki worked shifts of 10 or 12 hours, 5 or 6
days per week. Defendants billed their clients at or around $100 per hour for Zaki's services for
daily totals of approximately $1000-$1200.

151. Defendants collected from their clients an additional 20% tip, which on an
average day was $200-$250. Although Defendants collected these tips from its clients,
Defendants did not then give the tips to Zaki.

152. Zaki estimates that each week of his employment Defendants collected on average
between $1,000 and $1,200 in tips for services he provided. Defendants kept these tips and did

not give them to Zaki. Defendants did not provide Zaki with any record of the tips, but the

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precise amount of the withheld tips should be among the records Defendants were obligated to
maintain.
153. Defendants did not provide Zaki with a wage notice at any time throughout his
employment.
154, Defendants did not provide Zaki with accurate wage statements throughout his
employment.
FIRST CAUSE OF ACTION

FLSA violations- Tip Misappropriation
Brought by Plaintiffs on Behalf of Themselves and the Putative Class Members

155. Plaintiffs incorporate the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

156. Throughout the statute of limitations period covered by these claims, Defendants
were and continue to be “employers” engaged in interstate commerce within the meaning of the
FLSA and employed Plaintiffs and the Putative Collective Action Members.

157. Atall relevant times, Defendants operated under a policy and practice of failing to
pay Plaintiffs and the Putative Collective Action Members the tips they collected from their
customer.

158. Plaintiffs, on behalf of themselves and the Putative Collective Action Members,
seek damages in the amount of their respective misappropriated tips, liquidated damages as
provided by the FLSA, pre and post judgment interest, attorneys’ fees and costs and such other

legal and equitable relief as this Court deems just and proper.

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SECOND CAUSE OF ACTION
NYLL Violation- Tip Misappropriation
Brought by Plaintiffs Individually

159. Plaintiffs incorporate the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

160, It is unlawful under New York law for an employer to keep tips, gratuities or
service charges collected for customers for services provided by employees.

161.  Atall relevant times, Defendants collected tips from its customers and failed to
pay the tips to Plaintiffs.

162. Atal relevant times, Defendants willfully, regularly, repeatedly and knowingly
failed to pay Plaintiffs the tips collected from their customers.

163. Plaintiffs seek damages in the amount of their respective misappropriated tips,
liquidated damages as provided by the NYLL, attorneys! fees and costs, pre and post judgment
interest, and such other legal and equitable relief as this Court deems just and proper.

THIRD CAUSE OF ACTION
NYLL Violation- Failure to Provide Wage Notice
Brought by Plaintiffs Individually

164. Plaintiffs incorporate the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein.

165, Atallrelevant times, Defendants were covered employers under the NYLL,

166. The NYLL and Wage Theft Prevention Act (WTPA), as well as the NYS DOL

regulations, require employers to provide all employees with a written notice of wage rates at the

time of hire and whenever there is a change to an employees rate of pay.

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167. Defendants failed to supply Plaintiffs with notice as required by the NYLL in
English or in the language identified by Plaintiffs as Plaintiffs’ primary language,
containing Plaintiffs’ rate or rates of pay and the basis thereof; whether paid by the hour, shift,
day, week, salary, piece, commission, or other; hourly rate or rates of pay and overtime rate or
rates of pay if applicable; the regular pay day designated by the employer in accordance with
NYLLS§ 191; the name of the employer; any “doing business as” names used by the
employer; the physical address of the employer’s main office or principal place of business, and
a mailing address if different; and the telephone number of the employer.

168. Due to Defendants’ violation of NYLL §195(1), Plaintiffs are entitled to recover
from Defendants damages of $50 per workday during which the violation occurred or persisted,
up to a maximum of $5,000, attorneys’ fees, and costs and disbursements.

FOURTH CAUSE OF ACTION
NYLL Violation- Failure to Provide Wage Notice
Brought by Plaintiffs Individually

169, Plaintiffs incorporate the allegations contained in the previous paragraphs of this
Complaint as if fully set forth herein,

170. The NYLL and WTPA require employers to provide employees with an accurate
wage statement each time they are paid.

171, Defendants failed to provide to Plaintiffs wage statements that accurately listed

the true gross and net wages earned by Plaintiffs.

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172. Due to Defendants’ violation of NYLL §195(3), Plaintiffs are entitled to recover
from Defendants damages of $250 per workday during which the violation occurred, up to a

maximum of $5,000, attorneys’ fees, and costs and disbursements.

PRAYER FOR RELIEF
WHEREFORE , Plaintiffs pray for relief as follows:
(a) A Declaration that Defendants have violated the FLSA and other applicable laws,
(b) Designation of this action as a collective action on behalf of the Putative Collective
Action Members and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all
similarly situated members of the FLSA opt-in class, apprising them of the pendency of
this action, and permitted them to assert timely FLSA claims and state claims in this
action by filing individual Consent to Sue forms pursuant to 29 U.S.C. § 216(b);
(c) Designation of Plaintiffs as Representatives of the Putative Collective Action
Members;
(d) Designation of Plaintiffs' Counsel as Counsel for the Putative Collective Action
Members;
(e) An award of damages, according to proof, including the FLSA and NYLL liquidated
damages, to be paid by Defendants;
(f) Penalties available under applicable laws;
(g) Costs of action incurred herein, including expert fees;
(h) Attorneys' fees, including fees pursuant to 29 U.S.C. § 216, N.Y. Lab. L. § 663, and

other applicable statutes;

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(i) Pre-judgment and post-judgment interest, as provided by law; and
(j) Such other and further legal and equitable relief as this Court deems necessary, just
and proper.
DEMAND FOR TRIAL BY JURY
Pursuant to FED. R. Civ. P. 38(b), Plaintiffs demand a trial by jury on all questions of
fact raised by the Complaint.

Dated: Lake Success, New York
November 27, 2019

Yours, etc.

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